           Case 1:18-cv-02116-EGS Document 29 Filed 07/22/20 Page 1 of 2




                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                             )
    FRANCIS SCHAEFFER COX,                                   )
                                                             )
                            Plaintiff,                       )
                                                             )
                             v.                              ) Civ. A. No. 18-2657 (EGS)
                                                             ) (Civ. A. No. 18-2116 (EGS))
    EXECUTIVE OFFICE OF UNITED STATES                        )
    ATTORNEYS, et. al,                                       )
                                                             )
                            Defendants.                      )
                                                             )


                                         JOINT STATUS REPORT

        Plaintiff, Francis Cox, and Defendants, Executive Office of United States Attorneys

(“EOUSA”), Federal Bureau of Investigation (“FBI”) and Bureau of Alcohol, Tobacco and

Firearms (“ATF”), respectfully submit this joint status report to update the Court on the current

state of the proceedings. Regrettably, the parties’ report ought to have been submitted by May 29,

2020, as set by the Court’s March 2, 2020, Minute Order, but as a result of the dismissal of the

companion case through which all deadlines in the cases had been set (Freedom Watch v. U.S.

Dep’t of Justice, et al., Civ. A. No. 18-2116) and the suspension of Defendants’ FOIA processing

operations because of the COVID-19 pandemic, the matter got off track – a result for which the

parties apologize to the Court. 1

        As the Court may recall, all of the paper records have been processed in the case. All that

remains are the media: photographs, audio recordings, and video recordings, which Defendants



1
  In light of the dismissal of Freedom Watch, Civ. A. No. 18-2116, the parties have assumed it most appropriate to
revert to filing under the case number associated with remaining matter, Cox. v. EOUSA, et al., Civ. A. No. 18-2657.
         Case 1:18-cv-02116-EGS Document 29 Filed 07/22/20 Page 2 of 2




have been ordered to process at prescribed rates of 500 images, 30 minutes of audio, 15 minutes

of video, or some combination thereof, per month until such time as all of the non-exempt,

responsive records shall have been released. During the period since the last joint status report, no

media could be processed in the months of March and April on account of the restrictions put in

place to minimize the spread of the COVID-19 virus. Although Defendants’ (namely, FBI’s)

FOIA operations had not resumed at normal levels until mid-June, Defendants did meet their full

processing goals in May and June, processing and releasing a total of 60 minutes of audio

recordings (the requisite 30 minutes each of the two months).

       The parties propose to file their next joint status report on October 20, 2020.

Dated: July 22, 2020                          Respectfully submitted,


                                              MICHAEL R. SHERWIN
   /s/ Tyler Jay King                         Acting United States Attorney
 TYLER JAY KING
 Managing Attorney                            DANIEL F. VAN HORN, D.C. Bar # 924092
 Franklin Square Law Group, PC                Chief, Civil Division
 700 12th St., NW, Ste. 700
 Washington, DC 20005                    By: /s/ John Moustakas
 (202) 436-2641 (m)                          John Moustakas
 (202) 779-9711 (o)                          Assistant United States Attorney
 (202) 478-0964 (f)                          555 Fourth Street, N.W.
 tyler@lawgroupfs.com                        Washington, D.C. 20530
                                             (202) 252-2518
 Counsel for Plaintiff                       john.moustakas@usdoj.gov

                                              Counsel for Defendants




                                                 2
